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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
                                          MDL Case No. 2738
   AND PRODUCTS LIABILITY
   LITIGATION



   DEFENDANTS JOHNSON & JOHNSON’S AND LLT MANAGEMENT
    LLC’S SUPPLEMENTAL REPLY TO THE COURT’S JULY 19, 2024
  SHOW CAUSE ORDER EXPLAINING WHY THE COURT SHOULD NOT
      ADOPT THE STATE MCL JUDGE’S FINDINGS OF FACT AND
     CONCLUSIONS OF LAW ON THEIR MOTION TO DISQUALIFY
             BEASLEY ALLEN FROM THIS LITIGATION
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                                   INTRODUCTION

        Andy Birchfield’s and Beasley Allen’s effort to defend Judge Porto’s findings

  of fact and conclusions of law rests on arguments that are at odds with the evidentiary

  record and contrary to New Jersey law. They both rehash arguments they have

  made—and J&J has rebutted—before, and also advance new arguments against

  disqualification that they have never before asserted in these proceedings, were not

  embraced by Judge Porto, and do not support their opposition to J&J’s motion to

  disqualify them.

        Beasley Allen’s arguments about Rule 1.6 retread old ground. They are, at

  bottom, nothing more than iterations (or verbatim recitations) of what it has said

  before. For the reasons explained in detail in J&J’s prior briefing, Beasley Allen’s

  arguments are specious. See Dkt. 33026 at 10-19. They need only be addressed

  briefly here.

        Beasley Allen’s new arguments about Rules 5.3, 3.3, and 8.4, in turn, are just

  as deeply flawed, and adopting them would seriously weaken the rules governing

  the practice of law before this Court to the detriment of the bench, bar, and ultimately

  the attorney-client relationship. Beasley Allen’s position is that New Jersey’s ethics

  rules permitted it to collaborate on a settlement proposal in secret with J&J’s former

  lawyer in the same matter—both in and outside of mediation—and then attempt to

  cover up the collaboration in sworn certifications to the Court. It should go without



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  saying that the Rules prohibit that. Only by misconstruing them can Beasley Allen

  argue that it did nothing wrong.

        Beasley Allen contends, for example, that a lawyer “associates” with a non-

  lawyer under Rule 5.3 only when the two enter into an “agency” relationship. See

  Dkt. 33065 at 11. The plain meaning of “associate” is to the contrary. It means to

  join in common purpose or action, which is exactly what Beasley Allen and Conlan

  did when they collaborated on a settlement proposal in a mediation adverse to J&J.

  The plain text of the Rule and the official comments likewise belie Beasley Allen’s

  contention. The Rule’s framers deliberately selected a broad word like “associate”

  to capture mutually-beneficial partnerships, when those partnerships involve ethical

  misconduct. Such is the case here. Beasley Allen has never disputed, and in fact

  has admitted, that Conlan’s collaboration on a mediation proposal with his former

  client’s adversary would have been a violation of the Rules of Professional Conduct

  (“RPCs”) “if engaged in by a lawyer.” RPC 5.3(c).

        Beasley Allen’s arguments on Rule 3.3 and 8.4 are, if possible, even more

  strained and are entirely antithetical to the RPCs.         Beasley Allen offers no

  substantive defense of Birchfield’s sworn certifications. Nor could it. Those

  certifications were deliberately misleading. They failed to disclose the full extent of

  Beasley Allen’s relationship with Conlan—including their monthslong collaboration

  on a settlement proposal in the LTL-2 mediation—in an attempt to avoid



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  disqualification. Instead of offering a defense of its own misconduct, Beasley Allen

  tries to point fingers at J&J. It accuses J&J of “leaking” certain documents and

  withholding others, and even tries to fault J&J’s witnesses for not offering testimony

  sufficient (in Beasley Allen’s view) to warrant disqualifying the firm. None of that

  is correct—or a defense to offering misleading testimony to the Court.

        A federal “court has independent interests in protecting its judgments against

  later collateral attack, preserving the integrity of its proceedings, and protecting the

  truth-seeking function of [its] proceedings.” United States v. Voigt, 89 F.3d 1050,

  1076 n.12 (3d Cir. 1996). This Court should exercise its independent authority to

  protect those interests by declining to adopt Judge Porto’s decision. The Court

  should also use its plenary authority, independent of state law, to remove Beasley

  Allen from the PSC.

                                      ARGUMENT
        A.     Beasley Allen Is Responsible For Conlan’s Violation Of Rule 1.6

        There is no dispute that Conlan entered into a confidential relationship with

  Beasley Allen, which Beasley Allen contends is privileged, during the LTL-2

  mediation. In these circumstances, the law presumes what the relationship suggests:

  that confidences were shared. See Dkt. 32207 at 5, 36-37; Dkt. 32275 at 8-10; Dkt.

  33026 at 5-9. Like Judge Porto, Beasley Allen insists that New Jersey’s longstanding

  presumption of shared confidences was abrogated in 2004 by the elimination of the



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  appearance of impropriety standard from Rule 1.7(c). But neither Beasley Allen nor

  Judge Porto has ever explained why that would be so.

        As J&J has demonstrated in numerous briefs, the presumption of shared

  confidences does not police perceived impropriety or implement the policies

  embodied in former Rule 1.7(c). See Dkt. 32275 at 7-10; Dkt. 33026 at 6-7. Rather,

  it is an evidentiary presumption grounded in the policies justifying many

  presumptions—likelihood from fact A (here, a confidential relationship) that fact B

  is true (here, shared confidences), and the practical difficulty of requiring the movant

  to prove what third parties said to each other behind closed doors. See Dkt. 33026

  at 6-8. Likewise, New Jersey’s elimination of the appearance of impropriety

  standard casts no doubt on the presumption. The appearance of impropriety standard

  fell because it was vague. Presumptions are not—including presumptions that all

  agree are currently reflected in New Jersey’s ethics rules, like the presumption of

  shared confidences within a firm embodied in Rule 1.10. See Dkt. 32207 at 38-39.

  All of this is undisputed.

        Contrary to Beasley Allen’s argument, applying the presumption does not

  mean that the Court presumes an ethics violation. See Dkt. 33065 at 4-5. Under the

  presumption, the law presumes a fact—i.e., that confidences were shared. Whether

  there is an ethical violation turns on a host of other factors, including whether the

  presumption was rebutted (it wasn’t here) and what ethics rule is in play. The



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  presumption is not limited to Rule 1.6 cases precisely because it’s a presumption of

  fact, not a presumption of a legal violation. See Reardon v. Marlayne, Inc., 83 N.J.

  460, 473 (1980) (applying presumption to precursor to Rule 1.9(a)’s “substantially

  related” test).     Under Rule 1.6, for example, sharing confidences is not

  presumptively unethical.      An attorney is allowed to share confidences when

  necessary (RPC 1.6(b)) or authorized (RPC 1.6(a)).

           Beasley Allen seems to suggest that Conlan was authorized to share J&J’s

  confidences because he put J&J on “notice” that he would meet with plaintiffs’ firms

  in a February 2, 2023 email. See Dkt. 33065 at 6 & n.8. Notice is not consent or

  authorization.    The email said nothing about sharing confidences. And it is

  unreasonable to construe a proposal that J&J never accepted as providing “notice”

  to begin with. See Dkt. 33026 at 17-18. Why would Legacy “negotiate settlements

  with interested Asbestos Plaintiff law firms … to become effective at closing of the

  Legacy proposal,” Op. 11, if J&J had not accepted the Legacy Proposal in the first

  place?

           Setting the presumption aside, Judge Porto and Beasley Allen are wrong about

  the record. Neither grappled with the critical facts surrounding the collaboration on

  the Legacy/Birchfield settlement proposal in the LTL-2 mediation. See Dkt. 32207




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  at 20-22; Dkt. 32275 at 20-21; Dkt. 33026 at 24.1 In that collaboration, Conlan had

  an opportunity and motive to share J&J’s confidences. Again, it is undisputed that

  he would make money only if Beasley Allen offered a settlement J&J would be

  willing to accept, so he had every interest in sharing J&J’s settlement tolerance and

  thinking about the value of plaintiffs’ claims. The circumstantial evidence confirms

  that he followed through. Legacy and Beasley Allen went back and forth on the

  proposal for weeks, as it swelled in length with edits. To think those edits were not

  substantive is to blink reality. Although J&J was not required “to identify any

  specific confidence Mr. Conlan revealed to Beasley Allen,” Dkt. 33065 at 6; see also

  Dkt. 32207 at 40; Dkt. 32275 at 3-6; Dkt. 33026 at 17, it did: The weight of the

  evidence shows that Conlan revealed J&J’s settlement tolerance and valuation of

  plaintiffs’ claims. See Dkt. 32275 at 6 & n.1.

        What Beasley Allen’s argument really means is that J&J was required to prove

  a disclosure through direct evidence. That was impossible here because the firm

  invoked the mediation privilege to shield its communications with Conlan. But the

  important point is that the law does not demand direct evidence. Circumstantial

  evidence is sufficient. See Dkt. 32207 at 36; Dkt. 32275 at 3-4. And in this case it

  is powerful. Conlan’s and Beasley Allen’s conclusory and self-serving denials, by


  1
   The matrix attached to Legacy’s subsequent $19 billion proposal (see Dkt. 33065
  at 6) is beside the point, although the proposal itself reflects J&J’s and Beasley
  Allen’s confidences, as J&J has explained. See Dkt. 33026 at 10-11.

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contrast, are not. See, e.g., Cordy v. Sherwin-Williams Co., 156 F.R.D. 575, 584

(D.N.J. 1994) (“Self-serving affidavits of counsel and others are not helpful because

of their undeniable interest in preserving any tactical advantage they may have

garnered.” (internal quotation marks omitted)).

      B.      Beasley Allen Violated Rule 5.3(c)

      Beasley Allen barely defends Judge Porto’s application of Rule 5.3(c),

substituting his cursory analysis for arguments of its own.            Beasley Allen’s

arguments are no more persuasive. As relevant here, Rule 5.3(c) contains three

elements: (1) the lawyer “associates” with a non-lawyer; (2) the non-lawyer engages

in conduct “that would be a violation of the Rules of Professional Conduct if engaged

in by a lawyer”; and (3) the lawyer “ratifies” the non-lawyer’s conduct. RPC 5.3(c).

Beasley Allen and Conlan easily satisfy each element. The firm’s counterarguments

lack merit.

      1. Associate. Beasley Allen argues that it did not “associate” with Conlan

because he did not act as the firm’s “investigator or agent” when they collaborated

on a settlement proposal in the LTL-2 mediation. Dkt. 33065 at 11. That argument

was not adopted by Judge Porto (and not raised by Beasley Allen in its post-hearing

briefs), so Beasley Allen is asking this Court to chart new territory. See Op. at 31-

32.   Nor is the argument correct.       The word “associate” is not limited to

“investigators,” nor does it require an “agency” relationship. As J&J has explained,



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the word “associate” has a well-settled meaning: It means to join in common

purpose or action. Dkt. 32207 at 47-49; Dkt. 33026 at 23-24. Beasley Allen has

never attempted to rebut this definition, nor has it argued that it did not join in

common purpose and action with Conlan. That is because it can’t. The undisputed

facts found by Judge Porto show that Beasley Allen joined in common and purpose

and action with Conlan when they collaborated together on a settlement proposal in

the LTL-2 mediation. Dkt. 33026 at 23-24.2

      If the Rule’s framers wanted to require an agency relationship, they would

have said so. Instead, they enacted prohibitions that cover nonlawyers “employed

or retained by or associated with a lawyer.”      See RPC 5.3. Beasley Allen’s

interpretation of “associate” as requiring an agency relationship is not only

inconsistent with the plain and ordinary meaning of that word, but would render it

superfluous. It is difficult to imagine how a non-lawyer could enter into an agency

relationship with a lawyer and not be retained or employed within the meaning of

Rule 5.3. And plainly, the Rule does not require retention or employment. It sets


2
  Beasley Allen asserts that there is no evidence supporting the contention that
Conlan was on plaintiffs’ “mediation team.” Dkt. 33065 at 11. Of course there is.
Collaborating on a settlement proposal in mediation and engaging in “close
collaboration and strategy communications regarding” mediation, Dkt. 29999 at 6,
including sharing privileged and confidential information, see Dkt. 32207 at 23-25,
amounts to joining a mediation team. Regardless, Beasley Allen’s point is mere
semantics. Whatever the Court wants to call Beasley Allen’s collaboration with
Conlan, the fact is that collaborating on a settlement proposal in mediation is an
“association” under the plain meaning of the term.

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out association as a separate kind of relationship that independently triggers the

requirements of Rule 5.3.

      None of the sources cited by Beasley Allen is to the contrary. In re Complaint

of PMD Enterprises, Inc., 215 F. Supp. 2d 519, 529 (D.N.J. 2002), states that an

agency relationship is sufficient to trigger Rule 5.3; but that does not support Beasley

Allen’s argument that such a relationship is necessary. And the treatise cited by

Beasley Allen merely quotes from the official commentary to the Rule, which makes

clear that it applies to outside vendors. Thus, even accepting Beasley Allen’s

specious contention that Legacy was merely an outside “vendor” offering structural

optimization services, Dkt. 33065 at 1, Rule 5.3 would apply.

      Of course, that contention is impossible to square with the undisputed fact that

Beasley Allen and Conlan “collaborated on a settlement proposal to J&J.” Dkt.

29999 at 6. And it sidesteps the further (and also undisputed) fact that if Beasley

Allen was actually interested in a “vendor” offering structural optimization services,

it could have turned to any of numerous other companies offering those services.

See 4/10 (PM) Tr. 104:19-106:03. But it did not even look at others, because Beasley

Allen wanted Legacy with the CEO Beasley Allen knew was J&J’s former lawyer

on the talc litigation. See Dkt. 32207 at 49 (citing 4/10 (PM) Tr. 104:14-108:6).

Regardless, the language Beasley Allen cites forecloses its own suggestion that Rule




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5.3 does not apply because Legacy was a “vendor.” Attorneys can no more use

vendors to flout the rules than any other type of third-party.

      2. Conduct that would violate an RPC if engaged in by a lawyer. Like Judge

Porto, Beasley Allen insists that it did no wrong because Conlan did not violate Rule

1.9(a). Rule 1.9(a), Beasley Allen argues, applies only to lawyers who represent

clients, and Conlan was not a lawyer when he collaborated with Beasley Allen

during the LTL-2 mediation. Dkt. 33065 at 7. That does not matter. Rule 5.3 does

not require that the conduct involve a lawyer for the obvious reason that it is

specifically applicable to non-lawyers. Dkt. 32207 at 45; Dkt. 32275 at 13-14; Dkt.

33026 at 20-21. If the law were as Beasley Allen and Judge Porto imagine it, Rule

5.3 would almost never apply. Its specific terms governing the responsibility of

lawyers for associated non-lawyer conduct forecloses Beasley Allen’s position.

      Rule 5.3 is not self-negating. It holds lawyers responsible for a non-lawyer’s

conduct when that conduct would violate an RPC if engaged in by a lawyer. RPC

5.3(c). Put another way, J&J was not required to prove that Conlan actually violated

Rule 1.9(a) in his capacity as a “non-attorney businessman.” See Dkt. 33065 at 10.

It was required to prove that his conduct would have violated Rule 1.9(a) if he had

been a lawyer. Contrary to Beasley Allen’s argument, this does not “conflate RPC

1.9 with RPC 5.3.” Dkt. 33065 at 8 n.9. It merely reflects Rule 5.3’s text (and plain

purpose), which instructs the court to ask: If the non-lawyer had been acting as a



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lawyer, would his conduct have violated an ethical rule? The answer here is yes.

Everyone agrees that Conlan’s collaboration with Beasley Allen on a settlement

proposal in a mediation adverse to J&J would have violated Rule 1.9(a) if, at the

time of the mediation, Conlan had been a practicing lawyer. Dkt. 32207 at 42. That

ends the inquiry.

      3. Ratification. Beasley Allen next argues that it did not “ratify” Conlan’s

conduct. Dkt. 33065 at 11-12. Not only does this argument depart from Judge

Porto’s opinion (which never grappled with this issue), it consists of transparent

misdirection. The “conduct” that would have violated Rule 1.9(a) if Conlan had

been a lawyer—i.e., the conduct that matters for purposes of Rule 5.3(c)—was

Conlan’s “collaboration” with his former litigation adversary on a settlement

proposal in mediation. Beasley Allen ratified that conduct. As it admits, it invited

Conlan to participate on plaintiffs’ mediation team and approved his participation.

See Dkt. 33065 at 10 (“Birchfield sought to include Legacy in the mediation

process”); see also Dkt. 32207 at 20-21, 50-51; Dkt. 32275 at 13-14.

      Beasley Allen responds by pointing to different conduct. The firm asserts that

it did not violate Rule 5.3(c) because it did not ratify the so-called “Legacy

Proposal”—a proposal Conlan sent J&J after the LTL-2 mediation had concluded.

Dkt. 33065 at 11-12 (arguing Beasley Allen “could not have ordered, ratified, or

supervised the Legacy Proposal”). But J&J does not argue that Conlan violated the



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rules by sending the “Legacy Proposal” or would have done so if he had been a

lawyer. The Legacy Proposal is simply irrelevant to the Rule 5.3(c) analysis.3

      Curiously, Beasley Allen also contends that “J&J’s brief does not discuss RPC

5.3(c)(1)-(3)’s specific requirements that Beasley Allen must: (1) order or ratify

Conlan’s conduct; or (2) have ‘direct supervisory authority over Conlan.’” Dkt.

33065 at 13. Yes, it did. J&J made clear that “Beasley Allen ratified Conlan’s

participation on plaintiff’s mediation team, which would have been a flagrant

violation of Rule 1.9(a) if Conlan had been a lawyer,” Dkt. 33026 at 20, 24-25, and

cited its prior briefing where the argument was set out in full. J&J was not also

required to prove that Beasley Allen had direct supervisory authority over Conlan

within the meaning of Rule 5.3(c)(2) because the options set out in subsections (1)

through (3) are disjunctive—it is sufficient to disqualify Beasley Allen that it ratified

Conlan’s misconduct.4


3
  That said, the so-called Legacy Proposal was clearly the product of the secret
Beasley Allen-Conlan collaboration during the LTL-2 mediation, as evidenced by
their work to develop a term sheet and by Conlan’s ultimate revelation that he had
been working with Birchfield when he offered to bring Birchfield to meet with J&J
to walk through the Legacy Proposal. See Dkt. 32207 at 52; Hr’g Ex. 4 at 1; see
also supra at 8 n.2.
4
  Beasley Allen asserts that Judge Porto held that the application of Rule 5.3 would
“resurrect the appearance of impropriety standard.” Dkt. 33065 at 12-13 (citing Op.
at 26, 28, 31). Judge Porto did no such thing. Violating Rule 5.3 is a violation of
the RPCs. What Judge Porto held was that the “presumption [of shared confidences]
is no longer valid in New Jersey” because it was “based on the appearance of
impropriety.” Op. at 26. The presumption of shared confidences is irrelevant to
Rule 5.3; it matters here for purposes of Rule 1.6. And Judge Porto’s conclusion is

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                                   *      *     *

      Beasley Allen’s supplemental brief also raises two factual issues tangentially

related to Rule 5.3. Although they are not material to disqualification, J&J is

compelled to set the record straight.

      First, Beasley Allen repeatedly insinuates (if not argues outright) that it

invited Conlan to collaborate in mediation at the direction of Judge Kaplan. See Dkt.

33065 at 3 (arguing that “Beasley Allen’s compliance with Judge Kaplan’s mediation

order is not a basis for disqualification”). But Judge Kaplan merely ordered the

parties to mediate during the LTL-2 bankruptcy.         See Order Appointing Co-

Mediators and Establishing Mediation Protocol, In re: LTL Mgmt., LLC, No. 23-

12825-MBK (“LTL-2”), ECF No. 481 (Bankr. D.N.J. May 10, 2023) (“referr[ing]”

the parties to mediation). Judge Kaplan obviously did not order Beasley Allen to

collaborate with J&J’s former lawyer. If Beasley Allen actually felt that the addition

of a company like Legacy on its mediation team was advisable, it was free to reach

out to any of the other companies that provide the same services—none of which is

run by J&J’s former talc litigation lawyer. Yet it chose to partner with Conlan. It is

disingenuous for Beasley Allen to invoke Judge Kaplan’s mediation order as cover

for that misconduct.



wrong for reasons J&J has already set out at length and summarizes again in this
memorandum. See Dkt. 33026 at 5-9.

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      Second, Beasley Allen asserts without citation that J&J “failed to participate

in the mediation process.” Dkt. 33065 at 11. That is irrelevant and wrong. It is

irrelevant because Beasley Allen’s conduct violated Rule 5.3 regardless of whether

J&J participated in mediation. New Jersey’s ethics rules forbid Beasley Allen from

collaborating with J&J’s former lawyer on the same matter—full stop. Beasley

Allen also suggests that if J&J had mediated, it would have discovered sooner that

Beasley Allen was (in its lawyer’s words) “working together” with Conlan. 3/25

(AM) Tr. 76:3. But if J&J had discovered the collaboration sooner, it simply would

have moved to disqualify Beasley Allen sooner. When J&J discovered that Beasley

Allen violated Rule 5.3 is irrelevant to whether Beasley Allen violated Rule 5.3.

      In any event, Beasley Allen cites nothing for its contention that J&J “failed to

participate in the mediation process.” Dkt. 33065 at 11. That it is untrue likely

explains why Beasley Allen offers no support for its statement.

      C.     Beasley Allen Violated Rules 3.3 and 8.4
      Beasley Allen argues that the Court should adopt Judge Porto’s finding “that

Beasley Allen did not commit any ‘independent’ RPC violation under RPC 3.3 or

RPC 8.4.” Dkt. 33065 at 13 (capitalization amended).5 But Judge Porto did not

5
 This section appears to have been lifted almost verbatim from Beasley Allen’s post-
plenary hearing reply brief, Dkt. 32267 at 14-16, except Beasley Allen falsely
attributes to Judge Porto the arguments it advanced. For example, the Section header
in its post-hearing reply was: “Beasley Allen Did Not Commit Any ‘Independent’
RPC violation under RPC 3.3 or RPC 8.4.” In its current brief, the header reads:
“Judge Porto Correctly Found That Beasley Allen Did Not Commit Any

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address those rules so there is nothing for this Court to adopt. See Dkt. 33026 at 25-

26. Nor did Judge Porto render any findings “related to” these rules, Dkt. 33065 at

14—he ignored J&J’s arguments and Beasley Allen’s lack of candor.

      Instead of attempting to justify its deceptive certifications, Beasley Allen

accuses J&J of misconduct. See id. at 14-15. For instance, Beasley Allen faults J&J

for providing redacted timesheets and for citing to Beasley Allen’s privilege log,

which it used to block J&J from discovering the substance of its communications

with Conlan. Off base as these accusations are, they are completely irrelevant to the

question whether Beasley Allen told deceptive half-truths to hide its collaboration

with Conlan from the Court. Likewise, Beasley Allen accuses J&J of “leak[ing]”

some documents and withholding others—and then complains that “neither Mr.

Haas nor Mr. Murdica’s declarations provided any specific factual or legal basis to

disqualify Beasley Allen.” Id. at 14. Beasley Allen is wrong. But J&J will not waste

the Court’s time with a point-for-point refutation. None of this is relevant to the

question whether Beasley Allen was truthful to the Court.6



‘Independent’ RPC Violation Under RPC 3.3 or RPC 8.4.” The only difference is
the addition of the phrase “Judge Porto Correctly Found,” which is not an accurate
statement because Judge Porto found nothing with respect to these rules. The
substance of Beasley Allen’s arguments in both briefs is the same, as is most of the
phrasing. J&J has not yet had an opportunity to respond to these arguments because
Beasley Allen advanced them for the first time in reply briefs.
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  J&J’s submissions also clearly demonstrate that Conlan was not truthful with the
Court when he testified about his work as J&J’s outside counsel. See generally

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         Equally irrelevant is Beasley Allen’s argument that “Judge Porto found that

J&J was on notice that Conlan would approach plaintiffs’ firms like Beasley Allen

as early as February 2023.” Id. at 14-15. That factual finding is wrong for the

reasons J&J has already explained—it is unreasonable to conclude that a business

proposal that would become effective if accepted was notice about what would

happen after it was rejected. Dkt. 33026 at 18. And it is not credible to contend that

a letter from a client’s former lawyer asking that the client agree he could talk to the

client’s adversary about the same matter, without any response from the client, could

waive a conflict or otherwise condone the arrangement. In any event, the fact that

J&J supposedly was on “notice” that its lawyer intended to collaborate with its

adversary is no excuse for Beasley Allen filing misleading certifications with the

Court.

         Beasley Allen provides no real defense on the merits. In a footnote, it

contends that “[a]t no point was Mr. Birchfield’s testimony evasive or misleading.”

Dkt. 33065 at 14 n.15. But the problem was not just the testimony, but also

Birchfield’s sworn certifications. And those certifications speak for themselves.

They do not disclose the extent of Beasley Allen’s collaboration with Conlan—or



J&J’s May 1, 2024 letter submission (describing inaccuracies and inconsistencies
within and between Conlan’s and Birchfield’s certifications and testimony at the
plenary hearing); see also Dkt. 32207 at 16-17; 4/10 (AM) Tr. 19:14-22, 83:14-84:1,
85:1-8, 86:1-87:13; 4/10 (PM) Tr. 58:24-59:5.

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even the fact that they collaborated on a settlement proposal at all. See Hr’g Ex. 9 ¶

7 (asserting only that “[a]t no point in time has Mr. Conlan ever been a member,

partner, employee, or counsel at Beasley Allen”); Hr’g Ex. 16 ¶¶ 17-18 (disclosing

only that Birchfield’s “first contact with anyone at Legacy was on April 27, 2023,”

and that “[t]he first meeting with Legacy personnel was on May 2, 2023”); see also

Dkt. 32207 at 55-58; Dkt. 32275 at 19; Dkt. 33026 at 25-26. The footnote suggests

that Birchfield did not say more because the only “significant” fact for purposes of

disqualification was “the first date of contact.” Dkt. 33065 at 14 n.15. Not only is

that post-hoc justification unsupported by the certifications, it is simply not true.

Again, the full nature and extent of Birchfield’s communications with Conlan are

obviously “significant” to disqualification, which is why Birchfield left that

information out of his certifications as Beasley Allen moved for judgment on the

papers.

      D.     The Court Should, At A Minimum, Remove Beasley Allen From
             The PSC

      Beasley Allen again does not substantively address its continued leadership of

this MDL. And it again confirms one of the reasons that it cannot continue in that

role. Beasley Allen seems to think that it acted ethically because Legacy would have

been adverse to Beasley Allen’s clients if J&J had accepted the Legacy/Birchfield

Proposal in the LTL-2 mediation. See Dkt. 33065 at 7-8. That Legacy would have

been adverse to Beasley Allen if all had gone to plan is no defense to the fact that


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collaborating on the plan was unethical. Indeed, the fact that Beasley Allen was

willing to share its clients’ confidences with someone it hoped would become its

adversary represents a serious lapse in judgment, not a defense. Dkt. 33207 at 59-

60; Dkt. 32275 at 22-23; Dkt. 33026 at 27.            Beasley Allen’s willingness to

compromise its clients’ confidences—and the confidences of talc plaintiffs—is a

powerful reason not to permit it to continue in its leadership role in this case.

      The Court, however, need not separately address Beasley Allen’s membership

on the PSC if it disqualifies the firm. Beasley Allen’s violations of the New Jersey

Rules of Professional Conduct warrant disqualification, and upon disqualification,

the firm should no longer maintain its position on the PSC.



Dated: August 12, 2024                         Respectfully submitted,




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